,(   Y                                                                            JUDGE        GETTLEII'AN      {'1
u*
     F, I       L E D I g CR                                  62StrrAGrsTRATE.,r,DGERowrAND
         *auo -1 2ots              UNITED STATES DISTRIC'
                                                                                EL         CD      NY
                  G BRUJO-N
         THoMAS-otsrntcr     -.--
                                   NORTHERN DISTRICT OF ILLINOIS      "o,F
     creir' u' 5'         ffiffil"rroN    sHEEr FoR c RTMTNAL pRoc EEDTNGS

          1.     Is this an indictment or information arising out of offenses charged in one or more
          previously-frled complaints signed by a magistrate judge? ffou must answer 1b even if the
          answer is No) No

                 1a. If the answer is "Yes," list the case number and title of the earliest             filed
                complaint:

                 1b.    Should this indictment or information receive a new case number from the
                 court? Yes

          2.     Is this an indictment or information that supersedes one or more previously-frled
          indictments or informations? No

                  2a. If the answer is "Yes," list the case number and title of the earliest filed
          superseded indictment or information and the name of the assigned judge (Local Rule
          ao.3(b)(2)):

          3.     Is this a re-filing of a previously dismissed indictment or information? No

          4. Is this a case arising out of the failure of the defendant to appear              in a criminal
          proceeding in this Court? No

          5.     Is this a transfer of probation supervision from another district to this District? No

          6.     What level of offense is this indictment or information? Felony

          7.     Does this indictment or information involve eight or more defendants? No

          8.     Does this indictment or information include a conspiracy count? Yes

          9. Identify the type of offense that describes the count, other than any conspiracy count,
          with the most severe penalty: 29 USC S 501 (embezzlement of union funds)

          10.    List the statute ofeach ofthe offenses charged in the indi       nt or information.
                 18 U.S.C. S 371; 29 U.S.C. S 501; 18 U.S.C. S 1035




                                                            Assistant United States Attorney
